Case 6:18-cr-00150-PGB-GJK Document 8 Filed 06/28/18 Page 1 of 3 PageID 47




                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                        ORLANDO DIVISION

  UNITED STATES OF AMERICA

  v.                                       CASE NO. 6:18-cr-150-Orl-40GJK

  ERVING RODRIGUEZ

             NOTICE OF PENDENCY OF OTHER ACTIONS

       In accordance with Local Rule 1.04(d), I certify that the instant action:

 ☒     IS           related to pending or closed civil or criminal cases
                    previously filed in this court, or any other Federal or State
                    court, or administrative agency as indicated below:

                    United States v. Greggory Jackson, et al.
                    (8:16-cr-264-T-33TGW)

 ☐     IS NOT       related to any pending or closed civil or criminal case filed
                    with this Court, or any other Federal or State court, or
                    administrative agency.
Case 6:18-cr-00150-PGB-GJK Document 8 Filed 06/28/18 Page 2 of 3 PageID 48




       I further certify that I will serve a copy of this Notice of Pendency of

 Other Actions upon each party no later than eleven days after appearance of

 the party.

       Date: June 28, 2018

                                             Respectfully submitted,

                                             MARIA CHAPA LOPEZ
                                             United States Attorney


                                      By:     /s/Alexander J. Kramer
                                             ALEXANDER J. KRAMER
                                             Trial Attorney
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                                         2
Case 6:18-cr-00150-PGB-GJK Document 8 Filed 06/28/18 Page 3 of 3 PageID 49




 U.S. v. ERVING RODRIGUEZ                       Case No. 6:18-cr-150-Orl-40GJK

                         CERTIFICATE OF SERVICE

        I hereby certify that on June 28, 2018, I electronically filed the

 foregoing with the Clerk of the Court by using the CM/ECF system which

 will send a notice of electronic filing to the following:

        Robert Nicholson, Esq.

                                               /s/Alexander J. Kramer
                                              ALEXANDER J. KRAMER
                                              Trial Attorney
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                                          3
